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                                  MINUTES

   CASE NUMBER:         CV NO. 15-00436 HG-KJM
   CASE NAME:           Gulstan E. Silva, Jr. As personal
                        representative of the Estate of Sheldon
                        Paul Haleck v. Christopher Chung; Samantha
                        Critchlow; and Stephen Kardash
   ATTYS FOR            Eric A. Seitz, Esquire
   PLAINTIFF:           Della A. Belatti, Esquire
                        Gina May Szeto-Wong, Esquire
   ATTYS FOR            Traci Rei G. Morita, Esquire
   DEFENDANT:           Mitsuko Takahashi, Esquire
                        Nicolette Winter, Esquire


        JUDGE:    Helen Gillmor            REPORTER:     Gloria Bediamol

        DATE:     6/3/2019                 TIME:         10:00am-11:30am


  COURT ACTION:                            EP: STATUS CONFERENCE

  Discussion held.

  I.    Punitive Damages

       Plaintiff’s Oral Motion with respect to Punitive
  Damages is DENIED.

        The Court will issue a written order.

  II. Plaintiff’s Rule 50(a) Motion For Judgment As A Matter
      Of Law

       A motion for judgment as a matter of law may be granted
  only if there is no legally sufficient basis for a
  reasonable jury to find for the moving party on their claim.
  Costa v. Desert Palace, Inc., 299 F.3d 838, 859 (9th Cir.
  2002). The Court must draw all reasonable inferences in
  favor of the non-moving party and may not make credibility
  determinations or weigh the evidence. Johnson v. Paradise
  Valley Unified Sch. Dist., 251 F.3d 1222, 1217 (9th Cir.
  2001).
       The question of excessive force in this case turns on
  whether the officers’ actions were objectively reasonable in

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  light of the facts and circumstances confronting them.
  Graham v. Conor, 490 U.S. 386, 397 (1989).

       Plaintiff’s counsel argued in his Rule 50(a) Motion
  that the Court should find in his favor as to liability
  based on the Ninth Circuit Court of Appeals’ decision that
  was previously issued in this case.

       Plaintiff misunderstands the Ninth Circuit Court of
  Appeals’ decision. On July 10, 2018, the Ninth Circuit
  Court of Appeals issued an unpublished Memorandum decision.
  The appellate court never reviewed the question of the
  Defendants’ liability for excessive force. Rather, the
  appellate court affirmed the district court’s denial of
  qualified immunity and remanded for further proceedings. In
  its decision, the appeals court held that viewing the
  evidence in the light most favorable to the Plaintiff, there
  were factual issues as to whether the Defendant Officers
  were entitled to qualified immunity.

       The appellate court was required to construe the record
  in the light most favorable to the Plaintiff in its decision
  on qualified immunity. An appellate court is unable to find
  facts. The appeals court specifically found that “there is
  a factual issue for the jury whether [Defendant Officers’]
  use of force violated both the Forth Amendment and clearly
  established law” which must be decided first before
  determining whether the Defendant Officers are entitled to
  qualified immunity. Silva v. Chung, 740 Fed. Appx. 883, 887
  (9th Cir. 2018).

       Plaintiff claims that there are no factual differences
  between the record at trial and the record before the Ninth
  Circuit Court of Appeals in its review of qualified
  immunity. Plaintiff is incorrect.

       The following are some examples of evidence presented
  at trial and not present in the case at the time of summary
  judgment:

        (1) There was no evidence from eyewitness bystanders
            concerning the severity of the traffic on King
            Street, and whether it posed a threat to the
            Officers, motorists, bystanders or the Decedent;

        (2) There was no evidence from eyewitness bystanders
            as to the Decedent’s appearance, behavior, and

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              refusal to obey officers’ commands;

        (3) There was no evidence from eyewitness bystanders
            that the Decedent actively evaded the Defendant
            Officers;

        (4) There was no evidence that a Honolulu City Bus
            passed through the street where the Defendant
            Officers were attempting to detain the Decedent;

        (5) There was no evidence that cars were lined up
            behind the bus when the Defendant Officers were
            attempting to detain the Decedent;

        (6) There was no evidence or expert opinion by Dr.
            Stacey Hail;

        (7) There was no evidence that the day prior to the
            incident the Decedent was in multiple car
            accidents and received injuries and medical
            treatment as a result;

        (8) There was no evidence that the Decedent had an
            extended history of substance abuse;

        (9) There was no evidence of the Decedent’s history of
            mental illness.

       The Court finds that there are sufficient facts upon
  which a reasonable jury could find the Defendant Officers
  acted reasonably and did not use excessive force.

       Plaintiff’s Motion for Judgment as a Matter of Law (ECF
  No. 366) is DENIED.

  III. Defendants’ Rule 50(a) Motion For Judgment As A Matter
       Of Law

       Defendant’s renewed Motion for Judgment as a Matter of
  Law (ECF No. 365) is DEFERRED PENDING THE JURY VERDICT.

  IV. Special Verdict Form

       Discussion held as to the Court’s proposed verdict
  form.

        Defendants request a question regarding causation.

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       The Court to review the Defendants request and provide
  the Parties with a Proposed Special Verdict Form to review.

  V.    Jury Instructions

       Discussion held as to the Court’s proposed jury
  instructions.

       Plaintiff made oral objections to Proposed Jury
  Instruction 12, 13, and 14.

       Defendants made oral objections to Proposed Jury
  Instruction 12 and 13.

       The Court declines to give an instruction concerning
  the possibility that the decedent was emotionally disturbed
  as requested by Plaintiff for Jury Instruction 13. The
  instruction is confusing as to how the jury is to construe a
  possibility of emotional disturbance in a case alleging
  unreasonable force.

       The Honolulu Police Department’s Training Policies did
  not provide instruction to the officers in a situation in
  which the officers had no prior knowledge that a person is
  emotionally disturbed. The evidence concerning the exigent
  circumstances and calculus of reasonableness in this case
  required the Defendant Officers to make split-second
  judgments. See Kisela v. Hughes,138 S.Ct. 1148, 1157
  (2018); Graham v. Connor, 490 U.S. 386, 396-97 (1989). The
  Parties may raise in closing arguments the issue of the
  behavior and appearance of Mr. Haleck when the officers
  encountered him.

       The Parties pass the Court’s proposed jury instructions
  with oral objections made in Court on the record.

  VI. Closing Arguments

       Plaintiff and Defendants indicated they will take one
  hour to conduct closing arguments, including rebuttal
  arguments.

       Plaintiff shall submit any visual aids he intends to
  use during closing before 3:00 p.m. today.

        Further Jury Trial (Day 7) set for Tuesday, June 4,

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  2019 at 9:00 a.m. before the Honorable Helen Gillmor.

  Submitted by: Rachel Sharpe, Courtroom Manager




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